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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY




                                                        )
 BRYAN MESSENGER,                                        )
                                                         )
           Plaintiff,                                    )      Case No.:
                                                         )
 v.                                                      )
                                                            )
 NATIONAL BOARD OF MEDICAL                                  )
 EXAMINERS,                                                 )

      )
           Defendant.                                       )
                                                            )
                                                            )

_____________________________________________________________________________
                    DECLARATION OF LISA P. KESTLER, Ph.D.
 _____________________________________________________________________________

I, Lisa P. Kestler, declare as follows:

          1.      The facts in this declaration are based on my personal knowledge. If called to

testify, I could testify competently to the facts herein.

          2.      I am 43 years old.

          3.      I reside in Lawrenceville, New Jersey.

          4.      I graduated from Princeton University in 1996 with an AB in Psychology. In

2000, I obtained an MA in Clinical Psychology from Emory University. I also obtained my PhD

in Clinical Psychology from Emory University in 2005.
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       5.       As part of my graduate training at Emory University, I conducted psychological

evaluations for diagnosis of specific learning disabilities and ADHD. As a Pre-Doctoral Intern at

Jersey Shore University Medical Center, I administered psychological and neuropsychological

measures to children and adults. In my role as a Post-Doctoral Clinician and Researcher at The

Gifted Child Clinic, I conducted psychoeducational evaluations, including tests of intelligence

(Weschler Scales and the Standford-Binet), achievement, memory, attention, and other

neuropsychological functions.

       6.       I am a clinical psychologist in private practice and have expert knowledge of

ADHD and dyslexia. I offer multiple services including comprehensive assessment for ADHD,

learning disabilities, dyslexia, giftedness, and neuropsychological problems.

       7.       My full curriculum vitae is attached to this Declaration as Exhibit A.

       8.       Since November 2014, I have worked as a consultant at the Dyslexia Center of

Princeton. In this capacity, I routinely conduct psychoeducational evaluations for learning

disabilities and dyslexia.

       9.       On November 2, 2015, I conducted a psychoeducational evaluation of Bryan

Messenger at the Dyslexia Center of Princeton.

       10.      I administered to Dr. Messenger ten (10) subtests of the Weschler Adult

Intelligence Scale—Fourth Edition (WAIS-IV). In addition, I administered Weschler Individual

Achievement Test (WIAT—III) subtests. My full assessment is attached as Exhibit B.

             a. The Wechsler Adult Intelligence Scale –Fourth Edition (WAIS-IV) is a valid test

                of cognitive ability for adults. It is the gold standard in intelligence testing. The

                WAIS-IV is composed of 10 core subtests that comprise the Full Scale IQ. The

                General Ability Index (GAI) consists of the Similarities, Vocabulary and
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            Information subtests from the Verbal Comprehension Index and the Block

            Design, Matrix Reasoning and Visual Puzzles subtests from the Perceptual

            Reasoning Index. The GAI is clinically useful because it can be used as a measure

            of cognitive abilities that are less vulnerable to impairments of processing and

            working memory. Reliability studies of the WAIS-IV have demonstrated good

            internal consistency, test-retest stability, and inter-rater reliability.

         b. Similarly, the Wechsler Individual Achievement Test – Third Edition (WIAT-III)

            is the gold standard in achievement testing. Normed on children and adults

            through age 60, it provides percentile ranks, age-equivalent, and grade-equivalent

            scores across several areas of academic achievement, including mathematics,

            reading, written expression, and oral language. Each composite score is based on

            a number of subtests; scores on individual subtests can reveal specific skill

            deficits.

         c. The Gray Oral Reading Test – Fifth Edition (GORT-5) is one of the most widely

            used measures of oral reading fluency and comprehension in the United States.

            The GORT-5 is used as part of a battery of tests for diagnosis of specific reading

            disabilities in children through young adults. It is normed through age 23 years 11

            months, so older adults cannot be compared to same-age peers, but scores can be

            compared to the scores of average-scoring younger adults or children to obtain

            grade-equivalents.

         d. The evaluation was completed one-on-one in a distraction-free room. Each of the

            tests were administered according to standardized procedures. Instructions for all

            subtests were read to Dr. Messenger. On the WAIS-IV, the following subtests
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                 have time-limits on item administration: Block Design, Arithmetic, Symbol

                 Search, Visual Puzzles, and Coding. On the WIAT-III, the following subtests are

                 timed: Word Reading, Pseudoword Reading, and Oral Reading Fluency. The

                 following WIAT-III subtests have time-limits: Oral Word Fluency and Math

                 Fluency. Each reading passage on the GORT-5 is timed. Items on the WIAT-III

                 that required Dr. Messenger to read included Word Reading, Pseudoword

                 Reading, Reading Comprehension, and Oral Reading Fluency. On the GORT-5,

                 Dr. Messenger was required to read each text passage aloud; reading

                 comprehension questions were read to him, according to standardized

                 administration. No items on the WAIS-IV required Dr. Messenger to read.

        11.      The assessment results clearly demonstrate that Dr. Messenger has Moderate-

Severe Dyseidetic Dyslexia/Mild-Moderate Dysphonetic Dyslexia.1 His pattern of decoding and

encoding written language indicates significant difficulty perceiving and remembering whole

words, as well as significant difficulty integrating symbols and sounds to use rules of phonics for

reading and spelling.

        12.      Dr. Messenger’s general cognitive ability is in the superior range, with a full-scale

IQ OF 126. In contrast, however, he demonstrated clinically significant weakness in Basic

Reading Skills, and he also demonstrated poor spelling, sentence composition, and grammar and

mechanics in composing essays. His level of oral reading fluency is equivalent to that of an

average 4th grade-4th month student (based on Gray Oral Reading Test).



1
 Dyslexia is synonymous with Reading Disorder. There are four levels of dyslexia. From the least severe level to
the most severe, they are: Problematic, Mild, Moderate, and Severe. Dyseidetic dyslexia is a reduced ability to
perceive whole words for instantaneous reading and spelling, despite the word having been seen on repeated
occasions. Dysphonetic dyslexia is a reduced ability to integrate symbols and sounds, resulting in difficulty
developing and using word attack skills to decode single, unknown words.
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       13.     Throughout my 2015 assessment, Dr. Messenger demonstrated significant

slowness on tasks that involved reading, spelling, or written expression. Dyslexia makes it

difficult to read, write, and comprehend written language with accuracy and fluency. This is

particularly the case for Dr. Messenger, as demonstrated by my 2015 assessment of him.

       14.     In addition to my 2015 assessment of Dr. Messenger, I have also reviewed the

results of testing administered to him during elementary school. Those results are attached as

Exhibit C. Those test results also support a diagnosis of dyslexia and demonstrate that Dr.

Messenger has had this disability since childhood.

               a. Dr. Messenger’s records from 5th grade testing on the Stanford Achievement

                  Test include percentiles based on national norms. He scored in the 14th

                  percentile on Reading Vocabulary, in the 7th percentile on Reading

                  Comprehension, and in the 7th percentile for Total Reading. These scores are

                  clearly in the Below Average range, and these results alone are enough to

                  demonstrate dyslexia based on the current DSM-5 criteria.

               b. Dr. Messenger’s IEP documents in 2nd through 5th grades, attached as Exhibit

                  D, classified him as having a “specific learning disability.” Although formal

                  testing results are not available, this diagnosis was presumably made by a

                  psychologist, as the records indicate that the Child Study Team including Dr.

                  Messenger’s mother met to review testing results at “Canyon Crest

                  psychologist’s office.” His IEP goals included strengthening phonics skills,

                  ability to read Dolch words (phonetically irregular, or “sight,” words), reading

                  fluency, and writing skills.
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               c. Dr. Messenger’s middle school IEP, attached as Exhibit E, continued to refer

                   to difficulties in written language and basic reading skills. On his high school

                   IEP from October 1996, “Present Levels of Performance” includes scores

                   from the WCJ, which is presumably the Woodcock Johnson, another

                   commonly administered standardized test of academic achievement. Scores

                   appear to be grade level equivalents, with Basic Reading at a 4.1, Reading

                   Comprehension at 8.5, Basic Writing at 4.6, and Written Expression at 8.4.

                   This IEP is attached as Exhibit F. Assuming Dr. Messenger was in the 10th

                   grade at the time, these results are consistent with his prior testing which

                   indicates significantly below average performance.

       15.     Dr. Messenger meets criteria for Specific Learning Disabilities in Reading and

Written Expression – based on either set of criteria, from before the DSM-5 revision or after.

Prior to the DSM-5 revision, a significant discrepancy between ability and achievement was

necessary to identify a learning disability. After the revision, the DSM-5 now requires that skills

be “substantially and quantifiably below those expected for the individual’s age.” It is not clear

what Dr. Messenger’s ability scores were as a child, but his achievement scores can be said to be

“substantially and quantifiably below those expected for the individual’s age.” Given Dr.

Messenger’s intellectual ability in the Very Superior (“Gifted”) range, it would be expected that

his academic skills would be much higher than his same-age peers. This is not the case. Dr.

Messenger’s current reading comprehension and fluency skills are over 2½ standard deviations

below his General Ability level. His scores for written expression are nearly 2 standard

deviations below. Despite having these remarkable disabilities in reading and writing, Dr.

Messenger has succeeded in completing all but the final requirements for achieving his life goal
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of becoming a pediatrician, as stated in his 10th grade IEP. He has a clear history of documented

learning disability, from elementary school through adulthood. He also has a history of

demonstrating that he can do great things when he has appropriate support, and that he unfairly

struggles due to his disability when the supports are not made available.

       16.     It is my professional opinion based upon significant testing (as discussed above)

and my expertise that, due to his dyslexia, Dr. Messenger needs double time to complete tests,

including but not limited to the USMLE Step 2 CK. His level of fluency in reading and writing

are below the level that he can demonstrate his knowledge without additional time. During the

2015 evaluation, Dr. Messenger’s pace on timed and untimed tests that involve written language

indicates that he needs at least double time.

       17.     Absent double time on the USMLE Step 2 CK, Dr. Messenger will not be able to

demonstrate his knowledge.




Date: __________
      May 24, 2017                                   _______________________________
                                                     Lisa P. Kestler, PhD
